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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                         *
                                                  *
        v.                                        *    Crim. No. LO-19-449
                                                  *
 KENNETH W. RAVENELL,                             *    FILED UNDER SEAL
                                                  *
                Defendant                         *
                                                  *
                                               *******

                POSITION BY THE UNITED STATES IN RESPONSE TO
                   DEFENSE PRIVILEGE REVIEW OBJECTIONS

       This United States, by and through the undersigned counsel, submits this Position in

Response to Defense Privilege Review Objections.     This filing is being made by the Filter Team

in the above-captioned case, which consists of the undersigned Assistant United States Attorneys,

who are all employees of the Southern Division (Greenbelt) of the United States Attorney’s Office

for the District of Maryland, and are supervised by Assistant United States Attorney Thomas P.

Windom, Chief of the Southern Division.


       This filing is being made under seal and shall only be made available to this Court,

the Filter Team, and Defendant Kenneth Ravenell. This filing shall not be made available

to any other parties, including other counsel for the United States (the “Prosecution Team”)

or any other defendant in this matter.
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I.     Introduction

       Pursuant to this Court’s February 19, 2020, Order, the Filter Team respectfully submits

this Position in Response to “Privilege Review Objections” submitted by counsel for Defendant

Kenneth Ravenell (“Defendant” or “Ravenell”) on April 17, 2020, and March 19, 2021 (Exhibit

A; Exhibit B).    The Defendant claims that certain documents located on a laptop produced to the

government by Ravenell (hereinafter “the Laptop”) are protected by the work-product and

attorney-client privileges. As set forth below, the Defendant’s objections are without merit.

       As the proponent of the attorney-client and work-product privileges, the Defendant bears

the burden of establishing that they apply.   He has failed altogether to make such a showing and

has, instead, made generalized and conclusory privilege claims that are demonstrably meritless on

the face of the documents.     Moreover, to the extent this Court concludes that some of these

documents are privileged, any privilege has been vitiated by the crime-fraud exception, given the

Defendant’s involvement in long-running narcotics trafficking and money-laundering

conspiracies.    As the facts set forth below make clear, the Defendant—an experienced criminal

defense lawyer—abused his position as an attorney for self-gain and to obstruct justice, and his

conduct readily falls within the crime-fraud exception.   Notably, this Court has already concluded

that documents similar—and in some cases, completely identical—to the documents at issue here

were disclosable to the Prosecution Team under the crime-fraud exception.     Accordingly, and for

the reasons set forth below, the Filter Team requests that this Court issue an Order allowing the

Filter Team to provide certain disputed documents to the Prosecution Team.

       Rather than submitting the entire (voluminous) set of documents from the Laptop for this

Court’s review, the Filter Team has provided a smaller set of documents for review by the Court,

along with an explanation for why these documents are not protected by any privilege.           The
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documents that the Filter Team seeks to produce to the Prosecution Team at this time are grouped

into two categories: (1) financial statements, including tax information and financial summaries

(“Financial Statements”); and (2) billing documents, including legal and investigative bills

(“Billing Documents”) (collectively, the “Disputed Documents”).         Copies of these Disputed

Documents are attached to this filing as exhibits, along with spreadsheets that include descriptions

of the Disputed Documents, associated metadata, the asserted privilege objection by the defense,

and the government’s response to those objections.     Exhibit G is a spreadsheet summarizing the

Financial Statements and Exhibits G1 through G24 are the underlying Financial Statements

themselves, grouped into topic/subject categories.    Exhibit H is a spreadsheet summarizing the

Billing Documents and Exhibits H25 though H82 are the underlying Billing Documents, organized

by the party reflected on the bill.

        Two other points involving the Disputed Documents bear mention at the outset. First,

some of the Disputed Documents, or documents similar thereto, appear numerous times on the

Laptop. Therefore, the Filter Team has indicated on Exhibits G and H any identical duplicates

(based on an MD-5 hash comparison), or near-identical duplicates, which the Filter Team also

believes should be produced to the Prosecution Team because they are not privileged. These

duplicate and/or similar documents have not been provided as exhibits, but should the Court wish

to review them, the Filter Team can provide them to the Court.        Second, as explained below,

some of the Disputed Documents are identical or similar to documents the Court has already found

to be subject to the crime-fraud exception or otherwise not privileged.    Where such documents

exist, the Filter Team has provided a copy of the document previously deemed not privileged by

Magistrate Judge Timothy Sullivan and listed the document by Bates Number on Exhibit G or

Exhibit H, as appropriate.


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       To aid the Court in its analysis, the Filter Team has endeavored to provide as thorough a

factual background and summary of the relevant law in this filing as appropriate.    However, the

Filter Team anticipates making additional filings that would, like this filing, address additional

discrete categories of documents from the Laptop.    While the arguments relevant to the additional

filings may supplement those in this filing, the Filter Team believes that any additional sets of

documents will be limited in scope and number, and the Filter Team does not anticipate providing

substantial additional information concerning the underlying facts or law relevant to additional

privilege disputes.   The Filter Team, therefore, respectfully requests that the Court rule on only

this set of Disputed Documents at this time.

II.    Background

       Since at least 2011, the United States has been investigating a cross-country drug

trafficking organization (“DTO”) run by Richard Byrd, a former client of Ravenell.       Byrd was

ultimately convicted of conspiracy to distribute and possess with intent to distribute cocaine and

marijuana, and conspiracy to launder money, and is currently serving a 26-year sentence.       See

Crim. No. RDB-14-cr-186.         The government’s investigation of Byrd, however, ultimately

expanded to include an investigation of Ravenell himself for conspiring with Byrd and others to

continue the operations of the DTO, including by evading law enforcement, laundering DTO

proceeds, and obstructing investigations into the DTO.      On September 18, 2019, a grand jury

sitting in Maryland charged Ravenell with racketeering conspiracy, money laundering conspiracy,

and narcotics conspiracy. On December 17, 2020, a grand jury sitting in Maryland returned a

superseding indictment charging Ravenell again with racketeering conspiracy, money laundering

conspiracy, and narcotics conspiracy, and adding charges against him and his co-defendants for

obstructing an official proceeding, falsifying records, and for conspiring to do the same.


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       This filing arises out of a privilege dispute over documents obtained from the Laptop that

the United States obtained in the course of the investigation. The relevant procedural history of

this dispute, as well as the factual background of Ravenell’s role in the scheme, are set forth below.

       A.      Procedural History of Privilege Dispute Over the Laptop
               1.      The Original Search Warrant Litigation.

       On August 26, 2014, the Honorable Timothy J. Sullivan, United States Magistrate Judge

for the District of Maryland, issued two warrants authorizing searches of Murphy, Falcon, Murphy,

Ravenell & Koch (the “Murphy Firm” or “MFM Firm”) and Leyden Law LLC (the “Leyden

Firm”) (collectively, the “Search Warrants”). The Search Warrants subsequently became the

subject of litigation by the MFM Firm, the Leyden Firm, and Richard Byrd, over “whether

documents seized from the two law firms [could] be produced to [the prosecution team].” See

Report & Recommendation, In re Search Warrants Issued on Aug. 26, 2014, Misc. Nos. 14-mj-

1884-RAJ, 14-mj-1885-RAJ (attached hereto as Exhibit F1). Given the sensitive nature of the

searches, they were conducted by a team of law enforcement agents not otherwise assigned to the

investigation pursuant to the protocol described in the Search Warrants. The privilege-related

litigation arising from the Search Warrants was handled by a team from the Criminal Division of

the Department of Justice that was not assigned to the investigation. 1

       On November 2, 2016, Magistrate Judge Sullivan issued a Report and Recommendation,

accompanied by a Sealed Memorandum, finding that the government had made a prima facie

showing that the crime-fraud exception did, in fact, vitiate any privilege applicable to certain

documents under dispute between the parties.          See Exhibit F1; Sealed Mem., In re Search




1
  Thereafter, the current Filter Team (undersigned counsel) was assigned to litigation pertaining
to the Laptop, which relates to the Search Warrants in the manner described below.
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Warrants Issued on Aug. 26, 2014 (attached hereto as Exhibit F2).     In particular, Judge Sullivan

concluded based on his in camera review that the government had proffered sufficient evidence to

conclude that Ravenell was a knowing participant in Byrd’s effort to commit money laundering,

in violation of 18 U.S.C. § 1956, and obstruction of justice, in violation of 18 U.S.C. § 1519.

       On November 17, 2016, Judge Sullivan filed a letter order with attachments under seal,

amending his Report and Recommendation submitted on November 2, 2016 as to certain

documents. See Letter Order (ECF 44), In re Search Warrants Issued on Aug. 26, 2014, Misc.

Nos. 14-mj-1884-RAJ, 14-mj-1885-RAJ (attached hereto as Exhibit F3).

       On November 22, 2016, Judge Sullivan notified the Honorable Raymond Jackson, United

States District Judge for the Eastern District of Virginia, that the parties had “informed [his]

chambers that they will not be filing objections to the Report and Recommendation submitted on

November 2, 2016 and amended on November 17, 2016.” See Letter Order (ECF 46), In re

Search Warrants Issued on Aug. 26, 2014, Misc. Nos. 14-mj-1884-RAJ, 14-mj-1885-RAJ

(attached hereto as Exhibit F4).   Accordingly, on February 2, 2017, this Court issued an Order

adopting the Report and Recommendation.        See Order (ECF 47), In re Search Warrants Issued

on Aug. 26, 2014, Misc. Nos. 14-mj-1884-RAJ, 14-mj-1885-RAJ (attached hereto as Exhibit F5). 2

               2.      Ravenell Voluntarily Produces the Laptop to the United States

       At the time the Search Warrants were executed, Ravenell was out of the country and in

possession of the Laptop, which was his work computer.       Upon returning to the United States,

Ravenell transferred possession of the Laptop to his attorney.      Ravenell’s counsel ultimately

provided the Laptop to the United States on February 1, 2018.      As set forth in the Court’s prior



2
  The Filter Team sought, and was granted, a limited unsealing of the documents referenced in this
paragraph. The documents were provided to counsel for Ravenell via email on June 25, 2021.
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Order denying the Defendant’s Second Motion to Suppress, “Ravenell freely and voluntarily

consented” to provide the Laptop to the United States.       See Order Denying Second Motion to

Suppress (Under Seal), Crim. No. LO-19-449 (Aug. 12, 2020) (ECF 138) at 12.

       While the government maintained that no search protocols were required for their review

of the Laptop, the government nevertheless, in an abundance of caution, notified the Court that it

intended to search the Laptop pursuant to the practices and procedures outlined in Attachment B

to the relevant Search Warrant. See Motion (ECF 48), In re Search Warrants Issued on Aug. 26,

2014, Misc. Nos. 14-mj-1884-RAJ, 14-mj-1885-RAJ.          The parties later jointly sought to modify

those procedures.   On February 19, 2020, this Court, issued an Order Modifying Search Warrant

Practices and Procedures for the Laptop, which included a paragraph that defined the “Filter

Attorneys” as attorneys “assigned to the Southern Division of the U.S. Attorney’s Office for the

District of Maryland and not assigned to the instant prosecution . . . .”

               3.      The Instant Privilege Disputes

       Since the February 19, 2020 Order was entered, the Filter Team has engaged with

Ravenell’s counsel in an effort to resolve any remaining privilege disputes over documents on the

Laptop. Specifically, and following the procedures in the February 19, 2020 Order, the Filter

Team produced to Ravenell’s counsel two sets of documents that the Filter Team believed

constituted materials that should be disclosed to the Prosecution Team because the documents

were non-privileged or fell outside the attorney-client privilege due to a waiver or an exception to

the privilege. Ravenell’s counsel did not object to the production of certain documents, which

were thereafter provided to the Prosecution Team. However, Ravenell’s counsel did object to a




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number of other documents, as reflected in Exhibits A and B. The Filter Team has worked to

narrow the documents at issue, and those Disputed Documents are now subject to this litigation. 3

       B.      Factual Background

       The following statement of facts provides the Filter Team’s understanding of relevant

evidence and supplements Judge Sullivan’s findings.     Specifically, it establishes that Ravenell

was not just aware of, but an essential participant in, the racketeering, drug trafficking, money

laundering, and obstruction conspiracies that sustained the operation of Byrd’s DTO.

Accordingly, this Court should likewise conclude that the crime-fraud exception defeats any

privilege claim that Ravenell may have over the Disputed Documents.

       Ravenell is an attorney who was admitted to the bar in 1985 and practiced law in Maryland

for decades. While he was practicing law, however, Ravenell also became a principal member of

an ongoing, large-scale DTO that was being operated by Richard Byrd (identified in the

Superseding Indictment as R.B.). While Ravenell also represented Byrd and other DTO members

in legal proceedings, Ravenell simultaneously used his position as an attorney to directly further

the DTO’s illicit activities. In exchange for millions of dollars in drug proceeds, Ravenell:

(1) advised DTO members on how to avoid law enforcement and to launder drug proceeds;

(2) helped incarcerated DTO members collect drug debts, managed the DTO’s finances, and



3
  In addition to raising privilege objections, Ravenell has also argued that certain Disputed
Documents are outside the scope of the Search Warrant that was executed at Ravenell’s law firm
in August 2014. The Court has already considered—and squarely rejected—Ravenell’s argument
that documents from the Laptop fall outside the scope of the warrant because Ravenell freely and
voluntarily consented to the search and seizure of items from the Laptop. See Order Denying
Second Motion to Suppress (Under Seal), Crim. No. LO-19-449 (Aug. 12, 2020) (ECF 138). To
the extent Ravenell persists in these arguments, the Filter Team understands that the Prosecution
Team intends to seek leave of the Court to have such disputes litigated by the Prosecution Team
with respect to any documents that this Court deems not privileged or where the sole defense
objection pertained to scope.
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laundered DTO proceeds through his law firm’s bank accounts; and (3) obstructed justice to thwart

investigations into the DTO’s drug trafficking activities. And, when Ravenell himself became

the subject of the government’s investigation, Ravenell conspired with his codefendants to obstruct

justice by tampering with at least one potential witness—his former client, Byrd—and by making

false declarations to the United States District Judge presiding over Byrd’s criminal case. 4

               1.      The Byrd DTO

       Byrd operated a large, complex DTO that trafficked narcotics across the United States.

Aug. 26, 2014, Phillips Aff. ¶ 14 (attached hereto as Exhibit C). Byrd obtained multi-thousand-

pound quantities of marijuana and kilogram quantities of cocaine from sources of supply in Texas,

Arizona, and California, and distributed the substances in Baltimore and other East Coat locations.

See id. ¶¶ 14–15. Byrd then laundered drug proceeds through various businesses, individuals, and

financial institutions. Id. ¶ 14. By 2014, the government had identified $20 million in drug

proceeds that had been generated by the Byrd DTO. Id. ¶ 15. Byrd also had no legitimate source

of income that was untainted by drug proceeds. Id. ¶ 29. Byrd did not file any tax returns for

the years 2009 through 2012. Id. ¶ 29. Nor were any tax returns filed on behalf of Byrd’s

purported entertainment business, DB Entertainment, which did not even have a federal taxpayer

identification number prior to 2014. Id. In short, Byrd was a career drug dealer. And, as Judge

Sullivan found, Ravenell knew that “the vast majority, if not all,” of Byrd’s income was derived

from drug trafficking and not legitimate business activities. Sealed Mem. 4.


4
   Except as otherwise noted herein, the factual background is derived from the Superseding
Indictment (the “SS Indictment”), the affidavit in support of the warrant to search Ravenell’s law
firm (the “Phillips Aff.”), Judge Sullivan’s Sealed Memorandum (the “Sealed Mem.”), and
information made available to the Filter Team by the Prosecution Team, including Rule 16
discovery materials (“DM”), internal law enforcement reports (“LER”), and grand jury testimony
(“GJT”). The factual background specifically indicates where information comes from the
Disputed Documents themselves.
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       Ravenell first represented Byrd in 1995, when Byrd was convicted of possession with

intent to manufacture and distribute controlled substances in Baltimore City Circuit Court. Id.

¶ 15. Ravenell also represented Byrd in connection with multiple arrests and convictions in the

1990s and the early 2000s. DM. But Byrd had no arrests between 2003 and February 2011. Id.

There is no evidence that Ravenell provided any legal services—litigation-related or otherwise—

to Byrd during that period of time. Id. To the contrary, Ravenell joined the law firm Murphy

Falcon Murphy (“MFM”) in 2007, SS Indictment 2, and Byrd did not become an MFM client until

February 17, 2011, when Byrd was arrested on state charges in Arizona in connection with a sting

operation involving the purchase of a large amount of marijuana. Phillips Aff. ¶¶ 16–17.

       Even though Ravenell did not provide any legal services to Byrd between 2003 and 2011,

Ravenell and Byrd remained in frequent contact. In various phones that were seized in connection

with Byrd’s arrest in Arizona in 2011, investigators found records of numerous calls between

Ravenell and Byrd from 2008, 2010, and early 2011. DM. All of the calls were short in

duration—consistent with the calls being made to arrange meetings rather than engage in

substantive conversations. Id. There was no legitimate reason for Ravenell to be communicating

so extensively with Byrd, a known drug dealer who was not a client of Ravenell’s law firm. In

truth, during this period—between 2003 and 2011, when Byrd successfully avoided arrest—

Ravenell used his status and experience as a criminal defense attorney to protect Byrd and his DTO.

               2.     Ravenell Used His Attorney Status to Protect DTO Operations

       First, Ravenell used information that he learned representing other clients to advise DTO

members on how to avoid law enforcement. A DTO member testified that Ravenell told him, “If

you don’t tell me everything, I can’t tell you how best to protect yourself.” GJT. Ravenell

advised the DTO to store drugs, money, and firearms separately; to move money using private

instead of public airlines; to use intermediaries to transport drugs and money; to use aliases when
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traveling and conducting DTO business; to check vehicles for tracking devices; and to conduct

counter-surveillance. Ravenell also advised DTO members to conduct drug meetings face-to-

face; to leave phones behind when conducting drug transactions; to change phones regularly; to

destroy phones when coconspirators were charged; and to never take photographs with other DTO

members. Id.

       The fact that Byrd avoided arrest between 2003 and 2011 is itself evidence that Ravenell

provided this advice. But there is other, more direct evidence that Ravenell provided—and that

Byrd, among others, exploited—Ravenell’s advice for avoiding law enforcement. One example

was Ravenell’s advice to use aliases. For instance, Byrd used an alias to open a bank account and

to send money to Ravenell. On February 2, 2011, an account was opened on Byrd’s behalf in the

fictitious name of “Robert Smith.” SS Indictment 9. On February 11, 2011, someone made a

deposit of $8,000 to the account. SS Indictment 9. Then, on February 23, 2011, Ravenell

deposited an $8,000 check into his personal account—and not a law firm account—that was drawn

on the “Robert Smith” account for “Legal Services.” SS Indictment 9; DM. If the money were

from a legitimate source and the payment were for legitimate defense work, there would have been

no reason for Byrd to use an alias or for Ravenell to deposit the check to his personal account,

rather than any MFM account. But no “Robert Smith” was ever an MFM client. DM.

       Under Ravenell’s guidance, Byrd also used aliases to conduct drug-related travel. And

not only was Ravenell aware that Byrd was doing so, Ravenell even used his law firm credit card

to book the travel for Byrd. Between September 2011 and September 2013 (after Byrd’s arrest

for drug trafficking), MFM spent more than $27,000 to purchase 63 flights for Byrd and other

DTO members to travel to or from Baltimore, Atlanta, Houston, Phoenix, Los Angeles, and other

locations of drug trafficking activity. DM. Bank records confirm these transactions. Phillips


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Aff. ¶ 61. According to a DTO member’s testimony, Ravenell told a DTO member that, because

Ravenell used his law firm’s credit card to book the trips, it would be more difficult for law

enforcement to track DTO members as they conducted drug trafficking operations. GJT. Travel

records also show that MFM booked hotels under aliases used by Byrd. Consistent with these

records, agents who searched Ravenell’s law firm office in 2014 located a Louisiana driver’s

license bearing Byrd’s photo and one of Byrd’s alias names, Ebunolouwa Akinola, as well as a

prepaid American Express card with the same alias name. DM. The card previously had been

loaded with $9,703.96 but had a remaining balance of only $2.97. Id.

       A DTO member also testified that Ravenell provided the DTO with information about law

enforcement tools before the tools were used in any government investigation that involved the

DTO. GJT. Independent evidence corroborates this testimony. One example relates to Jerome

Castle, who was the DTO’s second-in-command and the leader of its Baltimore operations. GJT.

Castle collected and distributed narcotics on the East Coast and then collected drug proceeds and

shipped them back to the West Coast. GJT. During a search of a residence used by Castle,

officers seized a paper copy of an email that Ravenell sent on November 15, 2012, summarizing

how cell-site simulators are used. DM. And, on September 3, 2013, Ravenell sent an email

asking Kimberly Reid—a courier and administrative assistant to Byrd—to send Byrd an article

describing the government’s use of a phone database to target drug dealers, and asked Reid to have

Byrd call Ravenell. DM. There were no legitimate case-related reasons for Ravenell to provide

information about these law enforcement techniques to DTO members. This was, evidently,

prospective advice.

       Ravenell also protected DTO operations by lying to federal agents on behalf of DTO

members. For example, on August 31, 2009, Castle directed N.S., another DTO courier, to


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transport a suitcase containing a large amount of drug proceeds from the Baltimore-Washington

International Airport (“BWI”) to California. SS Indictment 9. At BWI, law enforcement seized

the suitcase and discovered $85,000 in cash inside. Id. When N.S.’s name was called over the

intercom in the boarding area, N.S. left BWI in a panic and called another DTO member, who

instructed her to call Ravenell. Id. N.S. called Ravenell and met with him. N.S. told Ravenell

that her luggage had been seized and that it had a large sum of cash in it. Id. Ravenell then called

the officer who had seized N.S.’s luggage and falsely told the officer that he had no idea why

N.S.’s luggage had been seized and that it was “just luggage.” Id. Ravenell also falsely told the

officer that N.S. left the airport because she had become ill and thought that she could just send

her luggage to California to have someone pick it up. Id.

       Ravenell further used his status to protect the DTO by providing information to DTO

members about coconspirators’ criminal cases to help DTO members identify who was potentially

cooperating against them. GJT. For example, during a recorded phone call that Byrd placed on

March 8, 2011, from a detention facility in Maricopa County, Arizona, Byrd asked Ravenell to

make sure that his girlfriend was not cooperating. Ravenell told Byrd that he already spoke with

Byrd’s girlfriend and that she was “fine,” meaning that she was not working with investigators,

although Ravenell also acknowledged the possibility that Byrd’s girlfriend was not giving him

“accurate information.” DM. A DTO member also testified that Ravenell agreed to pass drug-

related messages between DTO members so that DTO members would not have to use jail phones.

GJT. And, when DTO members were arrested, Ravenell told uncharged DTO members that he

would secure representation by attorneys who would ensure that charged DTO members did not

cooperate against uncharged DTO members. GJT; see also Sealed Mem. 4. Ravenell even used




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MFM funds to pay for DTO members to be represented by attorneys who made explicit in their

retainer agreements that they would not represent cooperating witnesses. DM. 5

       For example, when one DTO member was arrested in Phoenix, Arizona, Ravenell arranged

for an attorney to represent her. GJT. The DTO member testified that Ravenell told her that the

attorney would be under his supervision and could not do anything without getting Ravenell’s

approval. GJT. When DTO member Thurston Lindsey was arrested on state drug trafficking

charges in Arizona, Byrd paid for Lindsey to be represented by local attorneys Brian Russo and

Beth Garcia. Phillips Aff. ¶ 137. Russo and Garcia told Lindsey not to worry about their fees

because someone else would pay for them. Phillips Aff. ¶ 137. And when Russo and Garcia

visited Lindsey in jail, each asked Lindsey what he told police. Both Russo and Garcia were, in

turn, in telephone contact with Ravenell. Phillips Aff. ¶ 137. Through Ravenell, Byrd also paid

for attorneys to represent Jerome Castle, H.B. (a DTO member), and James Bowie (an attorney

who also represented DTO members) when each was arrested. Phillips Aff. ¶ 138.

               3.      Ravenell Knowingly Received Drug Proceeds as Compensation

       In exchange for Ravenell’s unlawful services to the DTO, the DTO paid Ravenell

significant amounts of cash. SS Indictment 6. A DTO member testified that the purpose of these

payments was to protect the DTO. GJT. Ravenell himself acknowledged that the purpose of the

payments was “to keep the empire safe.” GJT.

       Multiple DTO members testified to delivering large sums of U.S. currency to Ravenell

during face-to-face meetings—even before they were ever charged criminally and would have had

any reason to pay Ravenell. GJT. One DTO member testified that he frequently gave Ravenell


5
  Large drug operations often provide legal representation for members who are arrested. This
practice is intended by drug traffickers to access information from the criminal cases filed against
coconspirators and prevent cooperation with law enforcement. Coconspirators were instructed to
contact Ravenell if they were contacted by law enforcement in any way. Phillips Aff. ¶ 136.
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anywhere from $5,000 to $60,000 at a time but that, on a few occasions, he gave Ravenell as much

as $100,000 or $200,000 in cash. GJT. On another occasion, around December 31, 2011, a DTO

member delivered a bag containing $300,000 to Ravenell at a hotel in Las Vegas. GJT. Another

DTO member testified that he periodically gave Ravenell book bags containing between $50,000

and $100,000 in cash. GJT.

       One of the DTO members who delivered cash drug proceeds to Ravenell personally was

Jerome Castle. SS Indictment 10. The search of a cellphone later seized from Castle revealed

that Ravenell and Castle communicated via text message to arrange these meetings, some of which

occurred in December 2012 and January, February, and March 2013. Id. Castle was not a

Ravenell client until April 2013. Nonetheless, a drug ledger seized from Castle’s residence in

April 2013 revealed that Castle had given Ravenell $39,000 in cash during a recent, prior two-

month period. DM.

       DTO members delivered these cash payments to Ravenell during meetings at his law firm,

at hotels, and in restaurant parking lots. See SS Indictment; GJT. Indeed, an MFM employee

testified to sometimes seeing a DTO member carrying small duffel bags into meetings with

Ravenell in his office. GJT. A DTO member who delivered money to Ravenell at his MFM

office described counting stacks of cash wrapped in rubber bands on Ravenell’s desk. GJT.

Other times, the DTO member gave the cash to Ravenell while sitting inside Ravenell’s vehicle.

GJT. On one occasion in late 2011, Ravenell went to a Baltimore restaurant with Byrd, Jerome

Castle, and H.B. SS Indictment 10. After dinner, the four men went into the parking lot of the

restaurant. Id. Castle removed a Louis Vuitton shoe bag from the trunk of the car that Castle

and H.B. had driven to the restaurant. Id. Castle then gave the bag to Ravenell, id., who accepted




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the bag without acting surprised or looking inside, GJT. The bag contained $50,000 in drug

proceeds. SS Indictment 10.

       Multiple DTO members testified that they paid Ravenell using drug proceeds. These DTO

members also testified that Ravenell knew the cash constituted drug proceeds. GJT. Critically,

these DTO members testified that they explicitly told Ravenell that the cash came from drug

trafficking operations.   GJT.     Ravenell also acknowledged as much.          Following Byrd’s

Arizona arrest and the seizure of more than $1 million from the DTO, Ravenell told several DTO

members that he did not realize the DTO was doing that “well” and trafficking such large quantities

of drugs. GJT. 6 Accordingly, Ravenell demanded even more cash for his illicit services to the

DTO. GJT. One DTO member testified that, over a three-year period, he delivered more than

$1 million to Ravenell. GJT. Another DTO member testified that, during a year in which the

DTO earned approximately $10 million in net profit, Ravenell received approximately $3 million

in drug proceeds. GJT.

       In addition to witness testimony, Ravenell’s guilty knowledge is established by law

enforcement surveillance. For example, on or about September 12, 2011, Ravenell traveled to




6
  For example, during the execution of a search warrant at Byrd’s Arizona residence on March 7,
2011, officers seized a money counter and $749,000 in cash. Phillips Aff. ¶ 19. Byrd was also
present in April 2011 when law enforcement executed a search warrant at his sister’s Maryland
residence and seized $40,000 in U.S. currency and money orders, in addition to bank statements,
documents, and computers. Phillips Aff. ¶ 20. Again, Byrd was present during a July 2012
search at his brother’s residence in Arizona, where officers seized 1.5 pounds of marijuana and
$373,000 in U.S. currency. Phillips Aff. ¶ 21. And, in April 2013, officers executed multiple
search and seizures warrants in connection with large freight shipments that Byrd was sending
from Arizona to relatives and customers in Maryland. Phillips Aff. ¶ 22. Officers recovered 340
pounds of marijuana, 11 kilograms of cocaine, a cocaine press, 11 firearms, body armor, and
$56,000 in U.S. currency. Phillips Aff. ¶ 23. In the criminal and civil proceedings that resulted
from these seizures, DTO members, including Byrd, were represented by a team of attorneys that
was led by Ravenell and included Brian Russo, Jean-Jacques (“J”) Cabou, and Beth Garcia.
Phillips Aff. ¶¶ 16, 18, 24, 28.
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Arizona to meet with Byrd. SS Indictment 9. Byrd had given Ravenell several thousand dollars

in drug proceeds, which were stored at a hotel. Id. at 9–10. Byrd and Ravenell then met at a

restaurant, where officers overheard Ravenell and Byrd discussing Byrd’s belief that they were

being surveilled by law enforcement. LER. At one point, officers saw Ravenell leave the

restaurant and walk around the parking lot looking at cars and conducting countersurveillance to

ensure that law enforcement would not follow Ravenell back to the hotel. SS Indictment at 9–10.

       Because the cash he received represented drug proceeds, Ravenell told a Byrd DTO

member that he would spend the cash, rather than deposit it into a bank account. GJT. For the

same reason, Ravenell instructed the DTO member to commit drug transactions to memory, rather

than recording them in a ledger or journal. If the transactions—especially with Ravenell—were

recorded in a ledger and later discovered by investigators, Ravenell told the DTO member there

was a risk they would “get Needlemaned.” GJT. 7 Consistent with this advice, Ravenell never

provided any DTO member with receipts reflecting the provision of services in exchange for the

cash he received. SS Indictment 6, 14; see also GJT.

       Ravenell even knowingly accepted drug proceeds in exchange for services that he provided

to another DTO, which was led by Leonaldo Harris—who ran his own multi-state narcotics

trafficking operation. SS Indictment 2. Harris was arrested on drug trafficking charges in April

2013 that involved the possession and distribution of approximately 1,000 kilograms or more of

marijuana. United states v. Leonaldo Harris, et. al., Crim. No. PWG-13-202, Plea Agreement



7
   In 2011, Baltimore defense lawyer Stanley Needleman was convicted of tax evasion and
transaction structuring to avoid reporting large cash receipts and deposits from clients who retained
Needleman to represent them on felony drug charges. When officers executed a search warrant
at Needleman’s home, they found two safes containing cash totaling $1,153,660, and ledgers in
Needleman’s handwriting that chronicled the legal fees paid by hundreds of his clients over the
course of five years.
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Statement of Facts (ECF 613-1). 8      Ravenell began representing Harris in June 2013.        SS

Indictment at 2–3. To pay for Ravenell’s representation Harris directed his girlfriend, A.B., to

collect outstanding drug debts that were still owed to Harris. GJT. A.B. subsequently collected

a total of $200,000 in drug proceeds and delivered the proceeds to Ravenell during meetings at

various locations. GJT. For example, in 2014, A.B. delivered cash payments of $21,000,

$15,000, and $10,000 to Ravenell. SS Indictment 14. A.B. had previously told Ravenell that the

cash represented drug proceeds. Id. And, because Ravenell never provided receipts for the

payments, A.B. recorded them on the visor of her car. Id.

               4.     Ravenell Oversaw the Byrd DTO’s Finances and Laundered Its Proceeds

       While Ravenell knew that the large amounts of cash he received were drug proceeds

because DTO members told him as much, Ravenell also knew the cash represented drug proceeds

because he began to function as the DTO’s chief financial officer. Multiple DTO witnesses

testified that Ravenell knew everything about the DTO’s cashflow, including how much cash was

generated, who generated it, where the cash came from, and how much was collected. GJT.

Ravenell kept track of this information by maintaining the DTO’s financial records on his personal

laptop. GJT. Consistent with this anticipated testimony, and as further described below, there

are numerous financial records pertaining to DTO operations on Ravenell’s Laptop.

       In addition to maintaining the DTO’s financial records, Ravenell personally assisted in the

collection of drug proceeds, including from Jerome Castle and A.G. In April 2013, Castle was

arrested on federal narcotics charges, and Ravenell entered his appearance as counsel for Castle.

SS Indictment 11. In May or June of 2013, Ravenell visited Castle in jail, id., which is confirmed


8
  According to a draft motion that Ravenell prepared in connection with his representation of
Leonaldo Harris that was found on the Laptop (FILTER_KR_00008057), some of the marijuana
that was at issue in Leonaldo Harris’ case involved marijuana that was shipped and searched by
YRC Worldwide, a transportation services company.
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by jail records, DM. Ravenell asked Castle to provide Ravenell with information on money that

was still “on the street,” which Castle understood was a request for information concerning

outstanding drug debts owed to Byrd. SS Indictment 11. Ravenell did this at Byrd’s request.

GJT. In a notebook that Ravenell brought to the jail, Castle wrote the names of all the drug dealers

who still owed money to Byrd and the amounts that they owed, which totaled several hundred

thousand dollars. SS Indictment 11. Ravenell later delivered this list to Byrd. GJT.

       On July 11, 2014, Ravenell booked a flight from Baltimore to Atlanta for the next day. SS

Indictment 14. The purpose of the trip was for Ravenell to meet with A.G. to discuss drug

proceeds that Byrd had previously given to A.G. Id. On July 22, 2014, Ravenell visited Byrd in

jail and reported that A.G. failed to show up at the Four Seasons Hotel in Atlanta, where Ravenell

had planned to meet him. Id. Bank records confirm that this trip occurred. DM.

       Not only did Ravenell help the DTO collect drug proceeds, Ravenell eventually became

integral to the DTO’s ability to use its proceeds. Ravenell had generally advised the DTO to

launder its drug proceeds through side businesses to legitimize the money. GJT; see also SS

Indictment 6; Sealed Mem. 3. Following Byrd’s 2011 arrest in Arizona, however, the need for

the DTO to launder its proceeds became especially acute for Ravenell, personally. By that point,

Ravenell was beginning to provide legal services for Byrd and other DTO members in connection

with pending criminal charges. Even though Ravenell was willing to accept cash payments

himself, Ravenell told DTO members that his law firm, and the other lawyers he retained for DTO

members, could not. GJT. Accordingly, Ravenell directed DTO members to deposit cash

proceeds into ostensibly legitimate business bank accounts and then use wire transfers, checks,

credit cards, and PayPal to transfer the money to MFM. GJT; see also SS Indictment 6. Ravenell

then used these funds to pay for his legal fees and then to make various payments on Byrd’s behalf


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to third parties both (a) to promote drug trafficking and (b) to conceal funds that were derived from

drug proceeds. Id.

       Between 2011 and 2014, Ravenell’s firm documented receiving nearly $2 million in

connection with matters involving Byrd. SS Indictment 6. Consistent with anticipated witness

testimony, none of the payments came from Byrd. Id. Instead, all of the money came from third-

parties, including others involved in drug trafficking, entities and individuals used by Byrd to

launder money, and credit cards belonging to Byrd associates. Id. The firm’s use of funds,

moreover, revealed that Ravenell allowed MFM to function as the DTO’s checking account. 9

Indeed, Ravenell’s firm kept less than half of the funds that it received on Byrd’s behalf.

       Of the $1.2 million that MFM received for Byrd’s criminal case, the firm kept only

$534,000. Id. at 7. MFM disbursed $465,000 to lawyers and law firms who represented Byrd

and other DTO members but who would not accept drug proceeds. Id. 10 MFM, with Ravenell’s

approval, then transferred another $215,000 to various third parties for Byrd’s benefit. Id. The

law firm also credited another $671,000 in receipts to Byrd’s business ventures but retained only

$98,000 in legal fees. Id. The remaining $573,000 was transmitted to various Byrd-related

entities and third parties. Id. In other words, Ravenell allowed Byrd and his associates to use

MFM as a pass-through entity and money-laundering machine. See Sealed Mem. 2.                 And an

MFM witness testified that it was unusual for client funds to be transmitted to third parties, and

that MFM did not do this for any other client. GJT.




9
 The R.B. file at MFM contained no retainer agreement, in violation of MFM policy. GJT.
Every other client file seized from MFM contained a retainer agreement. DM.
10
  Ravenell also created—or authorized the creation of—a fake client file in the name of Jerome
Castle’s father, which Ravenell then used to pay attorneys for other DTO members. DM; GJT.
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                       a.     Ravenell and Byrd Used LOC Marketing to Launder Proceeds

       Ravenell also helped Byrd disguise the source of drug proceeds by laundering them through

various businesses even before the funds reached MFM. The primary business that Ravenell and

the Byrd DTO used to launder drug proceeds was LOC Marketing LLC, which was nominally

owned by Lamont Wanzer. LOC Marketing was a Washington, D.C.-based entertainment and

promotion business that organized events, including music concerts. Phillips Aff. ¶ 32. But the

events broke even, at best, and LOC Marketing never turned a meaningful profit. GJT; see also

Phillips Aff. ¶¶ 94, 129. Accordingly, Ravenell and Byrd decided to use LOC Marketing as a

vehicle for money laundering. GJT; Sealed Mem. 2–3. Drug money was used both to provide

“seed” funding for the events and to add to event revenues to make it appear as though the events

had been profitable. GJT. In exchange for further drug proceeds, LOC Marketing also provided

Byrd with an equity “stake” in the business. GJT. After depositing drug proceeds into LOC

Marketing accounts, DTO members then wired money from LOC Marketing to MFM on DTO

members’ behalf. A DTO member testified that LOC funds were transferred to MFM at the

direction of Ravenell himself, who would call Reid—who began functioning as LOC’s

administrator after Byrd’s “equity” injection—multiple times per week to make these requests.

GJT; see also Phillips Aff. ¶ 40. Ravenell never provided Reid with itemized receipts reflecting

that any services were provided to LOC Marketing. GJT.

       A DTO witness testified that more than 50% of the money that was deposited into LOC

accounts came from drug trafficking operations. GJT. As Wanzer later reported, legitimate

activity was blended with illegitimate activity “[a]ll the time.” Phillips Aff. ¶ 132. Indeed, after

Byrd “invested” in LOC Marketing, bank records show that its cash deposits increased

dramatically.   Prior to Byrd’s involvement, between 2009 and 2011 a total of $80,000 in cash

was deposited into LOC accounts. DM.        In 2012 alone, however, immediately after Byrd began
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using the business to launder money, $1.3 million in cash was deposited into LOC accounts.    DM.

Between April 2012 and July 2013, there were more than $2.2 million in cash deposits to LOC

accounts.   Phillips Aff. ¶ 35.    And, between May and June 2013, LOC Marketing wired

approximately $631,000 directly to MFM.      Phillips Aff. ¶ 37.   As Wanzer later explained, “The

whole way this thing was supposed to go was [Ravenell] had to be paid.”      Phillips Aff. ¶ 129.

       LOC Marketing also sent money to MFM and Byrd indirectly.             During another five-

month period between February and July 2013, when the DTO experienced cashflow problems,

see GJT, LOC Marketing wired a total of $281,000 to Bank of America accounts owned by J.L.,

the mother of Byrd’s child, and A.L., who is J.L.’s mother.    Phillips Aff. ¶ 38.   A.L.’s account

also received multiple additional unexplained cash deposits. Phillips Aff. ¶ 59.      Then, during

that same five-month period, the accounts owned by A.L. and J.L. were used to pay for more than

$500,000 in charges on an American Express card that was, in turn, used to pay MFM and to pay

for Byrd’s investments.   Phillips Aff. ¶¶ 59–60.    As Wanzer later explained, “Every time it was

a cash deposit, there’s a counter credit, and then a wire would go out to whatever . . . . The main

one’s was [Ravenell] and that credit card.” Phillips Aff. ¶ 131.     Ravenell, who was copied on

emails discussing the credit card payments, was aware of the existence and purpose of these

transactions.   DM.

       A DTO witness testified that Ravenell knew that money being deposited into LOC

Marketing bank accounts was derived from drug proceeds.            GJT.   That was why Ravenell

advised DTO members to exclude Byrd’s name from any LOC documents.            GJT.    For the same

reason, Ravenell suggested using Dunbar Armored Services to pick up drug proceeds near the

dates of LOC Marketing events to make the cash appear legitimate and sourced to the events.

GJT.   But any legitimate revenue derived from a promotional event would have been deposited


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through an armored car service the night of the event, not several weeks or months after the event.

Phillips Aff. ¶ 81.   And, in a consensually recorded conversation, Reid, LOC’s administrator,

acknowledged that deposits were being made even when there were “no parties going on.”

Phillips Aff. ¶ 64.

       In March or April 2013, Reid gave all of LOC Marketing’s books and records to Ravenell.

Phillips Aff. ¶ 122. This is corroborated by a June 2013 email in which Ravenell asked his

administrative assistant to email and print “all of the Byrd ledgers from beginning to now.” DM.

Critically, LOC Marketing’s records showed that, within minutes of cash deposits to LOC

accounts, wire transfers were sent to Ravenell and his firm. Phillips Aff. ¶ 131. The records also

reflected multiple sequential cash deposits of $9,000, which was patent structuring. Phillips Aff.

¶ 131. An email that Ravenell sent himself revealed that Ravenell was plainly aware of the red

flags within LOC’s books and records. DM.            In or around March 2013, Ravenell hired an

accountant to trace money coming into LOC’s bank accounts and assist Byrd with preparing his

personal and business tax records, but the accountant declined to prepare the returns because there

was insufficient documentation.    GJT.    Then, in July 2013, Ravenell hired Edward Leyden, a

tax and accounting attorney, to address what Leyden told DTO members was LOC’s income

“sourcing problem.” Phillips Aff. ¶ 30.     In August 2013, Ravenell sent Leyden to Houston to

meet with Byrd, Reid, Wanzer, and James Bowie.         Phillips Aff. ¶ 86 n.9.   The purpose of the

meeting was to discuss the large cash deposits and how to justify them.          Id. The fact that

Ravenell hired Leyden—who had no prior experience with this work—to identify legitimate

sources for LOC Marketing’s cash deposits itself is evidence of Ravenell’s guilty knowledge. As

Judge Sullivan concluded, this was an effort “to clean up” LOC’s accounting records in order to

thwart the government’s investigation into the source of the deposited funds. Sealed Mem. 3.


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       Issues that arose during Leyden’s work for LOC Marketing further demonstrate Ravenell’s

consciousness of guilt. When Leyden was reviewing the LOC Marketing bank records to try to

“source” cash deposits to events, Leyden discovered a suspicious transaction on or about October

17, 2012, when MFM wired $110,000 to LOC Marketing. GJT. Leyden asked Ravenell why

MFM was wiring such a large amount of money to LOC. GJT. Ravenell responded, “I know

about it, don’t worry about it,” and refused to provide any further explanation. GJT. When

Wanzer told Leyden (during a consensually recorded phone call) that his business and personal

accounts at Bank of America had been shut down because Byrd had been using the LOC accounts

to move large amounts of U.S. currency, Leyden cut Wanzer off, telling him not to discuss the

issue on the phone and that Leyden would discuss it with Ravenell. Phillips Aff. ¶¶ 75–79.

                      b.      Ravenell Obstructed LOC’s Response to Grand Jury Subpoena

       In March 2014, LOC Marketing received a federal grand jury subpoena from the District

of Maryland. Phillips Aff. ¶ 82. Ravenell, who represented Byrd, not LOC Marketing, called

Leyden and engaged him to respond to the subpoena on behalf of LOC. GJT. Trial testimony

will establish that, although Leyden told Ravenell that he had never responded to a criminal grand

jury subpoena, Ravenell told Leyden that he did not care. GJT. Ravenell’s only instruction to

Leyden was, “Make sure you let me see those documents before you produce them.” GJT.

Leyden discussed the subpoena during a meeting with Wanzer on March 24, 2014. Phillips Aff.

¶ 84. Leyden agreed to represent LOC even though (a) Leyden acknowledged the conflict with

Ravenell and MFM (because MFM represented Byrd), (b) Ravenell or Byrd would pay Leyden’s

fees, and (c) Ravenell told Leyden he would work for MFM in the future. Phillips Aff. ¶¶ 85, 95.

       On March 31, 2014, Wanzer brought Leyden copies of the subpoenaed records with

handwritten notations indicating that certain large cash deposits were questionable and possibly

drug proceeds. Phillips Aff. ¶ 96. On April 17, 2014, Ravenell called Wanzer to tell him that he
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(Ravenell) had been helping Leyden review the LOC Marketing documents to “make sure you

guys are good.” Phillips Aff. ¶ 107. But when Leyden produced the responsive records to the

government on May 1, 2014, 20 pages of records that Wanzer had marked up were removed from

the production.    Phillips Aff. ¶ 109.   As Judge Sullivan concluded, Ravenell and Leyden

withheld Wanzer’s annotations from the subpoena response to conceal evidence of the unlawful

source of funds deposited into LOC Marketing’s accounts. Sealed Mem. 3.

       And, not only did Ravenell help Leyden remove LOC Marketing documents from the

production, but Ravenell later told another DTO member that he was not concerned about the

possibility that Wanzer might proffer with the government because he did not believe that Wanzer

would tell the full truth about the money deposited into LOC accounts. GJT. But Wanzer told

Leyden, “[Ravenell] is cool.     He’s kinda running the . . . he’s kinda understanding the

[operation].” Phillips Aff. ¶ 133. He said Ravenell “has to know” where “everything is.”

Phillips Aff. ¶ 133.

       On June 17, 2014, Ravenell called Wanzer to discuss the government’s investigation. As

Judge Sullivan concluded, Ravenell tried to convince Wanzer that the money laundered through

LOC Marketing came from a legitimate source. Sealed Mem. 4. Ravenell told Wanzer that he

was not sure “whether the government can prove that the money came from drugs, versus that the

money came from, you know the shows and stuff you guys did.” Phillips Aff. ¶ 112. Wanzer

explained, however, that he was concerned because (1) large amounts of cash were deposited long

after LOC’s events and (2) the same amount was wired out of LOC accounts within 15 or 20

minutes. Phillips Aff. ¶ 113. Ravenell asked, “Where was the money going?” Wanzer said,

“[S]ome of it went to you.” Ravenell said, “Right.” Wanzer added, “A lot of times it went to




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[A.L. and J.L.’s] credit card.”     Again, Ravenell responded, “Right.”      Phillips Aff. ¶ 115.

Ravenell was not surprised by this information.

         Ravenell also acknowledged that, “if you don’t have a track record that the cash was made,

then you got a, then you got a problem.” Phillips Aff. ¶ 116. Ravenell added, “[I]f you’re paying

out all that money it would be the worst kind of money laundering where you take all the money

and give it to somebody else.” Wanzer insisted, “But we didn’t make anything. . . . We didn’t

really get paid nothing.”     Ravenell agreed, “Right, cause [Byrd]’s holding on to it.       He’s

controlling all the money.” Wanzer added, “Or it went out. Or it was wired.” Again, Ravenell

was not surprised; he agreed, “Right, right.” Phillips Aff. ¶ 118.

         Finally, not only did Ravenell perform money laundering services for Byrd, but Ravenell

even advertised this illegal service. Once Byrd was arrested and detained on federal charges,

Ravenell met with a DTO member who was Byrd’s planned successor. Ravenell confirmed that

the successor had access to a large supply of drugs. Ravenell then instructed the successor on

operational security and the economics of shipping drugs across the United States. Ravenell told

the successor that he could “wash money” through his law firm the same way he did for Byrd.

Ravenell also said that he would notify the successor if the government was investigating him and

that he would protect the DTO’s drug business.         In exchange, Ravenell asked for between

$200,000 and $300,000, as an entry fee, and said that he would charge additional fees along the

way as services were rendered. Lastly, as an endorsement, Ravenell bragged that Byrd would

agree Ravenell “get[s] the job done.” GJT. 11




11
     Once MFM was searched in August 2014, the DTO member cut ties with Ravenell. GJT.
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               5.     Ravenell Obstructed Justice for the DTO

       As Ravenell and other DTO members perceived that federal investigators were closing in

on the organization, Ravenell obstructed and attempted to obstruct justice on the DTO’s behalf.

       DTO members testified that, after their federal indictments in 2014, Ravenell flew to

Houston, Texas, to search for a DTO ledger. GJT. Ravenell believed the ledger contained

information that needed to be destroyed: an accounting of illegal business transactions, including

payments to Ravenell. GJT. Ravenell searched for the ledger but could not find it. GJT. This

testimony was corroborated by a June 29, 2014, email that Ravenell later sent Milun Chun, an

MFM associate attorney, stating, “[S]till did not locate the book. Any other idea?” DM. A

DTO member also testified that, when DTO members were arrested, Ravenell advised uncharged

DTO members to destroy their phones. GJT.

       Ravenell also conspired with the members of Byrd’s DTO to obstruct justice by

“neutralizing” witnesses. For example, when Ravenell learned through discovery in Jerome

Castle’s criminal case that law enforcement had observed Castle engage in money drops, Ravenell

became concerned that officers had seen him receive cash from Castle. GJT. Ravenell told a

DTO member that they “gotta find a way to neutralize Castle.” GJT. Ravenell eventually

withdrew from representing Castle. DM. After he had withdrawn, however, Ravenell twice

went with a private investigator—Ravenell’s co-defendant, Sean Gordon—to visit Castle in jail to

persuade him to accept a lengthy, non-cooperation plea so that he would not testify against other

DTO members. GJT. Jail records confirm that Ravenell visited Castle twice after having

withdrawn from representing him. DM.

       Jeff Gilbert was another witness whom Ravenell attempted to “neutralize” on behalf of

Byrd’s DTO. Byrd and other DTO members used Gilbert’s company to ship large, wholesale

quantities of marijuana from Arizona to various destinations on the East Coast for further
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distribution. SS Indictment 12. During the execution of search warrants in Maryland in April

2013, law enforcement recovered black plastic shipping containers that had been used by Byrd’s

DTO to ship 100-pound quantities from Arizona to Maryland. Id. Ravenell and Byrd discussed

how Gilbert was a threat to Byrd because Gilbert could provide incriminating information about

Byrd and other members of the conspiracy if he were called as a witness in a proceeding against

Byrd. Id. Ravenell then dispatched a private investigator to meet with Gilbert in Arizona. Id.

       Unbeknownst to Ravenell and the investigator, however, Gilbert was interviewed by law

enforcement before the investigator met with him. SS Indictment 12–13. Gilbert was shown a

photographic lineup, positively identified Byrd, and provided incriminating information about

Byrd and the DTO. Id. at 13. On May 3, 2013, when Ravenell’s private investigator met with

Gilbert, the investigator misled Gilbert into believing that he was also with law enforcement. Id.

Gilbert reiterated what he had already told law enforcement about Byrd and that he (Gilbert) had

identified Byrd in a photo lineup. Id. But in a memorandum dated May 5, 2013, addressed to

Ravenell, and stored in the Byrd file at Ravenell’s office, the investigator falsely described the

interview with Gilbert. Id. Specifically, the memorandum falsely stated that Gilbert told the

investigator that he (Gilbert) could not identify Byrd and that Gilbert was unable to identify Byrd

in a photo array that the investigator provided. Id.

       D.W. was yet another DTO witness whom Ravenell attempted to neutralize on Byrd’s

behalf. On August 5, 2013, Ravenell and Sean Gordon traveled to a detention center where D.W.

was being held. SS Indictment 13. The visit is confirmed by detention center records. DM.

D.W. had trafficked narcotics and laundered money for Byrd and other DTO members and had

been federally charged with marijuana trafficking conspiracy in the District of Maryland. SS

Indictment 13. Even though D.W. was already represented by an attorney, Ravenell did not seek


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permission from the attorney to meet with D.W. or to discuss D.W.’s pending charges before

Ravenell and Gordon attempted to interview D.W. Id. D.W. refused the interview anyway. Id.

Nonetheless, on or about May 29, 2014, Ravenell sent Gordon to visit D.W. again. Id. at 14.

When he met with D.W., Gordon asked D.W. to make a false written statement indicating that

D.W. had not been involved in trafficking narcotics with Byrd. Id. D.W. refused to sign the

false statement and told Gordon that Gordon and Ravenell should contact D.W.’s lawyer. Id.

After Gordon questioned whether D.W. was “snitching,” D.W. ended the interview. Id.

              6.      Ravenell Obstructed the Investigation into Himself

       After law enforcement searched Ravenell’s office in August 2014, Ravenell withdrew from

representing Byrd, who obtained new defense counsel.         Ravenell separated from MFM in

September 2014. SS Indictment 2. Nonetheless, in October 2014, Ravenell dispatched Sean

Gordon to meet with Byrd. GJT. Byrd’s counsel was not aware of the visit. GJT. Gordon told

Byrd that Gordon and Ravenell were concerned that Byrd’s new counsel had a good relationship

with the government and would try to convince Byrd to cooperate. GJT. Gordon told Byrd that

“we need someone who is going to be a team player, and make sure we get someone who is going

to protect everybody.” GJT.

       This meeting was itself evidence of Ravenell’s consciousness of guilt. But Ravenell took

additional steps to protect himself (and—by extension—Gordon, too). Recognizing that he was

a target of the government’s investigation, on January 21, 2016, Ravenell retained Joshua Treem,

a defense attorney—and, ultimately, Ravenell’s codefendant—to represent him. SS Indictment

18. In November 2016, Byrd pleaded guilty to federal drug trafficking and money laundering

charges. Ravenell understood that Byrd was, therefore, a potential witness against him before the

grand jury and in any subsequent criminal prosecution against Ravenell. Id. at 20. Accordingly,


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just as Ravenell had dispatched private investigators like Gordon to “neutralize” witnesses against

Byrd, Ravenell dispatched Treem and Gordon to “neutralize” Byrd as a witness against himself.

                          a. Ravenell’s Defense Team Tampers with Byrd’s Testimony

       Treem and Gordon traveled to Phoenix, Arizona, to meet with Byrd, who was being held

there on state charges. SS Indictment 22. In advance of the meeting, Ravenell prepared a list of

53 exculpatory statements concerning Ravenell’s involvement in the DTO’s criminal conduct. Id.

Ravenell prepared the list, titled “KWR’s Combined Notes,” based on witness statements that had

been turned over to Byrd’s lawyer in connection with Byrd’s criminal case and that were

subsequently given to Ravenell and Treem by Byrd’s lawyer. Id. Ravenell’s goal was to use

Treem and Gordon to convince Byrd to adopt the exculpatory statements in order to later impeach

Byrd’s testimony in the event Byrd were called as a witness against Ravenell. Id. at 21. This

was the same strategy that Ravenell and Byrd had deployed against other DTO witnesses.

       Among the statements in “KWR’s Combined Notes” were the following false denials:

           •   “[Ravenell] was not part of [Byrd’s] DTO.”

           •   “[Ravenell] did not serve as [Byrd’s] house counsel.”

           •   “[Byrd] told me he was no longer involved in drug trafficking activities after his
               February 2011 arrest.”

           •   “[Byrd] worked hard to keep [Ravenell] unaware of his drug and money laundering
               activities because he knew [Ravenell] would not approve.”

           •   “[Byrd] never told [Ravenell] he was using LOC to launder money.”

           •   “[Byrd] did not pay [Ravenell] to report law enforcement activities to him.”

           •   “[Ravenell] did not bring [Byrd] a list of people who owed him drug money from
               Castle.”

           •   “[Byrd] did not give [Ravenell] hundreds of thousands of dollars.”




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           •    “[Byrd], Castle, and [Ravenell] never had a meeting where we discussed [Byrd]’s
                DTO and [Ravenell] commented that [he] did not know [Byrd] and the members of
                his DTO were making so much money.”

           •    “[Byrd] and Castle have not given [Ravenell] millions of dollars in cash.”

           •    “[Byrd] and Castle never talked openly in front of [Ravenell] about collecting drug
                money.”

           •    “[Ravenell] never told [Byrd] to legitimize any money. [Ravenell] told [Byrd]
                [Ravenell] would only accept money derived from reputable sources, clean money.”

           •    “[A]fter [Byrd]’s 2011 arrest, [ Byrd] put a hold on his drug operation and tried to
                do more events.”

           •    “[Byrd] did not want [James] Bowie to tell [Ravenell] about [Byrd]’s losses in the
                entertainment business or that the feds were watching him.”

KWR Combined Notes 1–2 (attached hereto as Exhibit D).

       On September 9, 2017, Treem and Gordon met with Byrd. Unbeknownst to Treem and

Gordon, the meeting was audio and video-recorded. Treem and Gordon began the meeting with

Byrd by explaining that Ravenell had given them a list of items to discuss with Byrd. Byrd was

not surprised. SS Indictment 22. The first item Treem raised was Ravenell’s false statement that,

after Byrd’s February 2011 arrest, Byrd told Ravenell that he was no longer involved in narcotics.

Id. Treem, Gordon, and Byrd then discussed how Ravenell tracked Byrd’s business income and

expenses, and how money was wired to MFM at Byrd’s direction. Id. at 24. Treem, Gordon,

and Byrd also discussed the Laptop, which Byrd said had his “financials” on it. Id. at 25. Byrd

said the Laptop should be thrown away or his financial information should be removed from it.

Id. at 25–26.

       Eventually, Byrd told Treem and Gordon, “I know what [Ravenell] wants, that’s no

problem. He know who I am, he knows what—he—we’ve known each other over two decades. . . .

So I know this formula, that’s not a problem, all right. You will leave here with the information

that you came seeking.” SS Indictment 24.          Byrd added, “So what I’m telling you is that
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whatever Ravenell needs that’s fine, that’s not a problem. Like we can go through this whole

questioning and then we’re going to do the song a dance, that’s not a problem.” Id. Byrd then

proceeded to review many—but not all—of the statements on “KWR’s Combined Notes” and

indicated that he was adopting them. Id. at 27. Neither Treem nor Gordon recorded which

particular statements Byrd adopted. Id. Treem did, however, take handwritten notes from the

meeting. According to Treem’s notes, Byrd stated that Ravenell maintained Byrd’s finances on

his computer, that “Feds do not have it,” and “info delete.” Id. at 29.

       Treem and Gordon continued their meeting with Byrd the next day, September 10, 2017.

SS Indictment 30. Treem advised Byrd that he was in touch with Ravenell and planned to meet

Ravenell the next day. Id. Treem then asked Byrd to sign “KWR’s Combined Notes” “just to

show [Ravenell] that you went over it.” Id. Before signing it, however, Byrd told Treem and

Gordon, “There’s just a couple of things that I want to go through.” Id. Byrd explained that,

although he would never cooperate with the government, Ravenell had a “blueprint” of Byrd’s

financials, that Byrd “can’t get to those financials without [Ravenell],” and that Ravenell was “in

a unique position as far as my money is concerned because without him I can’t get my money.”

Id. at 31. Byrd continued, “My only position here is my money, that’s it. [Ravenell] can get

anything he want from me that’s not a problem. It’s been that way since I’ve been incarcerated. . . .

My concern is my money.” Id.

       After providing this context, Byrd told Treem and Gordon that the testimony that Ravenell

wanted Byrd to provide was false. Byrd explained, “Now the information I gave you yesterday—

is the information if called to testify I will testify to on the stand.” SS Indictment 31. Byrd

clarified, however, that this testimony would be untrue:

                     Here’s the real situation, alright. The real situation is this:
               [Ravenell] knew my whole business operation, period, from A to Z,

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               from nuts [to bolts]. [Ravenell] knew that LOC was used to launder
               money. [Ravenell] knew I was still involved in narcotics. I paid
               [Ravenell] millions of dollars in cash.

                       ....

               I used to deliver book bags of cash to that office. [Castle] delivered
               millions of dollars to [Ravenell]. So what I’m saying is that I’m
               going to be the good soldier like I’m supposed to be, but I need
               [Ravenell] to put his nuts on the line for me and make sure I get my
               fucking money. Like I’ve told you, I got two kids in college. I got
               one that’s coming home that doesn’t want to go to college. I’m not
               asking for no handout. I’m just asking for my money.

Id. at 32.

        Byrd then told Treem, “Now [Ravenell] keeps a chart of all my investments, all the players

that’s involved, the how’s and the where’s. He needs to make sure all of that vanish off his laptop.”

SS Indictment 32. Treem responded by reminding Byrd that Treem could not advise Ravenell to

delete the materials from the Laptop because it was under subpoena. Id. On his notepad, Treem

wrote, “[Ravenell] knows all about drug dealing, LOC and laundering. [Byrd] delivered millions

in cash, so did [Castle].” Id. at 33. Treem also wrote a note to himself: “JRT – different from

yesterday,” and underlined the notation four times. Id. Referring to Byrd’s financial records,

Treem wrote, “assuming it’s on laptop,” and that Byrd “wants [ ] with investments to vanish” and

“JRT – won’t happen, can’t happen.” Id. Treem added, “[Ravenell] willing to throw him a few

‘ms’ to take care of ‘kids.’” Id.

        Treem then asked Byrd to confirm what he was saying in the following exchange:

               TREEM:         [S]o I make sure I understand this, you’re telling me
                              that [Ravenell] knew that you were using LOC to
                              launder your narcotics money . . . .

               BYRD:          Absolutely.

               TREEM:         And there was really no question about, you know,
                              where this was all coming from --


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                BYRD:            Absolutely.

                TREEM:           -- at least comingled.

                BYRD:            Right.

SS Indictment 33–34. Although Treem acknowledged that what Byrd said was “somewhat

different what [Byrd] said yesterday,” Treem told Byrd he was “giving [Byrd] credit for that being

accurate and truthful. Id. at 34. Byrd maintained, “I mean, this—I’m ready—this is for the

[witness] stand, okay.” Id. But Treem insisted, “I can’t put you on the witness stand if you’re

going to lie, and if I know you’re going to lie I can’t do that, because that get me in a lot of trouble

if that comes out.” Id. at 35.

        At that point, Treem ended the interview “to go kind of sit in my office and close the door

and kind of play all this out.” Id. Treem added that he was not going to tell Byrd’s lawyer about

what Byrd said because it would not “help” Ravenell. Id. Byrd had effectively told Treem that

he would be willing to perjure himself for Ravenell—by agreeing to Ravenell’s false denials—but

that Ravenell would have to help Byrd recoup drug proceeds that were still controlled by MFM.

In his notes, Treem wrote, “JRT  said to stop” when Byrd was “saying [] different from

yesterday.” Id. Treem also wrote, “[Byrd] prepared to testify about [what Ravenell] needs [him]

to,” and that he could not call Byrd “if you are going to lie.” Id.

        As the interview ended, Byrd asked to speak with Gordon privately. Before leaving the

room, Treem asked Byrd, referring to “KWR’s Combined Notes,” “Can you sign that for me that

you saw it?” SS Indictment 36. After Treem left, Byrd told Gordon, “I should never have had

that conversation with [Treem].” Id. Gordon tried to reassure Byrd, stating, “This is a situation

of . . . [t]alk to everyone, find out what their status is, you know. Just like you sent me to Houston

to talk to people, this is kind of the same version.” Id. In doing so, Gordon effectively admitted

that he and Treem were trying to “neutralize” Byrd—the same way they had tried to obtain a false
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statement from D.W. after D.W. was arrested in Texas. See id. at 13. But Byrd told Gordon that

he was “willing to testify to all of this.” Id. at 36. Accordingly, Gordon asked Byrd to sign

“KWR’s Combined Notes” just to acknowledge “you saw it.” Id. at 36–37. After signing it,

Byrd told Gordon, “[T]ell [Ravenell] to go get some of that motherfucking money that he got

buried and give me my fucking money and get me out of the way.” Id. Gordon replied, “I can

on Tuesday.” Id.

                           b. Ravenell’s Defense Team Falsified a Sworn Affidavit

       The next day, September 11, 2017, Treem held a conference call with Ravenell and drafted

a false affidavit for Gordon concerning their meeting with Byrd and “K. Ravenell’s Combined

Notes.” SS Indictment 37. Two days later, September 13, 2017, Treem and Ravenell held

another conference call regarding the Gordon affidavit. Id. On September 14, 2017, the next

day, Gordon went to Treem’s law firm to execute the affidavit. Id. The affidavit contained the

following false statements regarding the meeting:

           •   “Byrd read each of the entries . . . out loud and acknowledged the truthfulness and
               accuracy of each one separately and individually,” id. at 38, which was false
               because Byrd did not read or acknowledge all 53 statements;

           •   “At no time did [Byrd] express any hesitancy, disapproval or disagreement with the
               statements or make any changes,” id., which was false because Byrd told Gordon
               and Treem that many of the statements were untrue; and

           •   “[W]e asked [Byrd] . . . if he had no changes to make, to sign and date the
               statement,” id. at 39, which was false because Gordon asked Byrd to sign the
               statement only to acknowledge that “[he] saw it,” and neither Gordon nor Treem
               asked Byrd whether he wanted to make any changes.

       Treem thereafter maintained the false affidavit in his files at his law firm. Id.

                      c.      Ravenell Directed Treem to Falsify a Letter to a Federal Judge

       A few months later, on January 18, 2018, Treem began drafting an ex parte letter to the

United States District Judge who had presided over Byrd’s criminal case. SS Indictment 40. The

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letter was not a response to any order from the Court. Id. at 41. That day, Treem spent

approximately 1.5 hours drafting the letter. Treem also exchanged emails with Gordon and

communicated with Ravenell by phone. Id. at 40. Ravenell met with Treem on January 19, and

again communicated with Treem by phone on January 29, 2018. Id. Treem continued editing

the letter on January 30; and on February 6 and February 7, Treem met with a law firm employee

to discuss further revisions to the letter. Id. On February 8, Treem again discussed revisions to

the letter with a law firm employee, who subsequently called Gordon. The same day, Treem spent

an hour editing the letter and spoke again with Ravenell by phone. Id.

       On February 9, 2018, Treem emailed the ex parte letter to the District Judge. Treem

explained that he was writing in his capacity as Ravenell’s attorney to “bring to the Court’s

attention recent actions by [Byrd] that I believe constitute criminal conduct.” SS Indictment 41.

Treem wrote that Ravenell “believes a record needs to be made of these events regardless of the

consequences, should he be charged and should [Byrd] appear as a government witness” and that,

“[a]s his counsel I concur.” Id. Treem’s letter, however, included several statements concerning

Byrd’s meeting with Treem and Gordon that were obviously false when compared to the video

recording of the meeting—and with Treem’s own notes. For example, Treem falsely wrote that

he and Gordon asked Byrd to consider the accuracy of “each” statement in KWR’s Combined

Notes, and that Byrd had asked to “consider the request overnight.” Id. Treem also wrote that,

when he returned the following day, Byrd “stated that the statements were accurate.” Id. at 42.

That representation, too, was patently false.




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III.   Legal Framework: Relevant Privileges and Exceptions

       A.      The Attorney-Client Privilege

       The Fourth Circuit “has adopted the classic test to determine whether the attorney-client

privilege applies to certain communications or documents.” In re Grand Jury Subpoena: Under

Seal, 415 F.3d 333, 339 (4th Cir. 2005). Under that test, the privilege applies only if:

       (1) the asserted holder of the privilege is or sought to become a client; (2) the person
       to whom the communication was made (a) is a member of the bar of a court, or his
       subordinate and (b) in connection with this communication is acting as a lawyer;
       (3) the communication relates to a fact of which the attorney was informed (a) by
       his client (b) without the presence of strangers (c) for the purpose of securing
       primarily either (i) an opinion on law or (ii) legal services or (iii) assistance in some
       legal proceeding, and not (d) for the purpose of committing a crime or tort; and
       (4) the privilege has been (a) claimed and (b) not waived by the client.

Id. As with other privileges, “[t]he burden is on the proponent of the attorney-client privilege to

demonstrate its applicability.” United States v. Jones, 696 F.2d 1069, 1072 (4th Cir. 1982). It is

well established that the attorney-client “privilege only protects disclosure of communications;

it does not protect disclosure of the underlying facts by those who communicated with the

attorney.” Upjohn Co. v. United States, 449 U.S. 383, 395 (1981).

       As the Fourth Circuit has long held, “[a]ny disclosure inconsistent with maintaining the

confidential nature of the attorney-client relationship waives the attorney-client privilege” and

“[a]ny voluntary disclosure by the client to a third party waives the privilege not only as to the

specific communication disclosed, but often as to all other communications relating to the same

subject matter.” Id. “Because the attorney-client privilege exists for the benefit of the client, the

client holds the privilege.” In re Grand Jury Proc. #5 Empanelled Jan. 28, 2004, 401 F.3d 247,

250 (4th Cir. 2005). As the holder of the privilege, the client “can waive [the privilege] either

expressly, or through conduct.” Hawkins v. Stables, 148 F.3d 379, 384 (4th Cir. 1998) (internal




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citations omitted). 12 The attorney-client privilege may be pieced by a showing of crime-fraud, as

“[t]he crime-fraud exception to the attorney-client privilege provides that a client’s

communications with an attorney will not be privileged if made for the purpose of committing or

furthering a crime or fraud.” In re Grand Jury Subpoena, 884 F.2d 124, 127 (4th Cir. 1989).

       Although the individual claiming privilege bears that burden, the government bears some

burden with respect to documents claimed to be crime-fraud. “In order to overcome the privilege,

the government must make a prima facie showing that the communications sought fall within the

crime-fraud exception.” Id. With respect to the attorney-client privilege, the attorney does not

need to “be aware of the illegality involved” for a crime-fraud finding, “it is enough that the

communication furthered, or was intended by the client to further, that illegality.” United States

v. Cohn, 303 F. Supp. 2d 672, 682 (D. Md. 2003).

       B.      The Work-Product Privilege

       The work-product privilege protects an attorney’s work done in preparation for litigation.

In re Grand Jury Proc. #5, 401 F.3d at 250. The Supreme Court first recognized this privilege

(also called the “work-product doctrine”) in 1947 in Hickman v. Taylor, 329 U.S. 495 (1947). In

1975, the Supreme Court held in United States v. Nobles, 422 U.S. 225 (1975), that the privilege

applies in criminal cases and explained that “the doctrine is an intensely practical one, grounded

in the realities of litigation in our adversary system.” Nobles, 422 U.S. at 238.

       “To establish the applicability of the work product privilege, [the proponent] must show,

as to each document, that the work product in question was: (1) prepared by, or under the direction

of, an attorney and (2) was prepared in anticipation of litigation.” Rambus, Inc. v. Infineon Techs.


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  As the Defendant’s objections make clear, the current privilege dispute largely centers on the
work-product, rather than attorney-client, privilege, in part because Byrd and many of his co-
conspirators have waived any attorney-client privilege. See Exhibit E (Byrd’s privilege waivers).
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AG, 220 F.R.D. 264, 272 (E.D. Va. 2004). “[T]he party claiming the protection bears the burden

of demonstrating the applicability of the work product doctrine.” United States v. Frostman, 221

F. Supp. 3d 718, 726 (E.D. Va. 2016) (quoting Solis v. Food Emps. Lab. Rels. Ass’n, 644 F.3d

221, 232 (4th Cir. 2011)). In addition, “[t]he fact that defendant anticipated litigation with

plaintiff does not make all documents thereafter generated by or for its attorneys subject to work

product immunity,” and “[a] party claiming work product immunity must still establish the

underlying nexus between the preparation of the document and the specific litigation.” Neuberger

Berman Real Est. Income Fund, Inc. v. Lola Brown Tr. No. 1B, 230 F.R.D. 398, 418 (D. Md. 2005)

(quoting Burton, 175 F.R.D. at 328). As the Fifth Circuit has noted, “[l]ike the attorney-client

privilege, the work-product doctrine protects only the [attorney’s work product] and not

the underlying facts.” Adams v. Mem’l Hermann, 973 F.3d 343, 350 (5th Cir. 2020) (internal

citations omitted).

       To determine whether a particular document was prepared in anticipation of litigation, the

Fourth Circuit (along with the majority of others) applies “the ‘because of’ test.” Nat’l Union

Fire Ins. Co. of Pittsburgh, Pa. v. Murray Sheet Metal Co., 967 F.2d 980, 984 (4th Cir. 1992).

The inquiry is “whether, in light of the nature of the document and the factual situation in the

particular case, the document can fairly be said to have been prepared or obtained because of the

prospect of litigation.” United States v. ISS Marine Servs., Inc., 905 F. Supp. 2d 121, 133-34

(D.D.C. 2012) (emphasis added). “The document must be prepared because of the prospect of

litigation when the preparer faces an actual claim or a potential claim” and “materials prepared

in the ordinary course of business or pursuant to regulatory requirements or for other non-

litigation purposes are not documents prepared in anticipation of litigation.” Nat’l Union Fire Ins.

Co., 967 F.2d at 984 (emphasis added).


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       “Because the work product privilege protects not just the attorney-client relationship but

the interests of attorneys to their own work product, the attorney, as well as the client, hold the

privilege.” In re Grand Jury Proc. #5, 401 F.3d at 250 (internal citations omitted). “[T]he ability

to protect work product normally extends to both clients and attorneys, and the attorney or the

client, expressly or by conduct, can waive or forfeit it, but only as to himself.” Hanson v. U.S.

Agency for Int’l Dev., 372 F.3d 286, 294 (4th Cir. 2004) (internal citations omitted).

       C.      Fact Work Product vs. Opinion Work Product

       The work-product “privilege encompasses both ‘fact’ work product and ‘opinion’ work

product.” In re Grand Jury Proc. #5, 401 F.3d at 250. As the Fourth Circuit has explained,

“[n]ot all work product is treated equally,” and courts “afford greater protection to opinion work

product than to fact work product.” In re Grand Jury Subpoena, 870 F.3d 312, 316 (4th Cir.

2017). Specifically, the Fourth Circuit has explained the relevant standards as follows:

       Fact work product, which consists of documents prepared by an attorney that do
       not contain the attorney’s mental impressions, ‘can be discovered upon a showing
       of both a substantial need and an inability to secure the substantial equivalent of the
       materials by alternate means without undue hardship.’ Opinion work product,
       which does contain the fruit of an attorney’s mental processes, is ‘more
       scrupulously protected as it represents the actual thoughts and impressions of the
       attorney.’

In re Grand Jury Proc. #5, 401 F.3d at 250 (internal citations omitted). “To be entitled to

protection for opinion work product, the party asserting the privilege must show a real, rather than

speculative, concern that the work product will reveal counsel’s thought processes in relation to

pending or anticipated litigation.” In re Initial Pub. Offering Sec. Litig., 249 F.R.D. 457, 460

(S.D.N.Y. 2008) (internal quotation marks omitted).




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       D.      The Crime-Fraud Exception

       The Fourth Circuit has “recognized the crime-fraud exception in the context of attorney-

client privilege and in the context of the work product doctrine.” In re Grand Jury Proc.,

Thursday Special Grand Jury Sept. Term, 1991, 33 F.3d at 348. “[T]he party invoking the crime-

fraud exception must make a prima facie showing that (1) the client was engaged in or planning a

criminal or fraudulent scheme when he sought the advice of counsel to further the scheme, and

(2) the documents containing the privileged materials bear a close relationship to the client’s

existing or future scheme to commit a crime or fraud.” In re Grand Jury Proc. #5, 401 F.3d at

251. This showing requires that the government show that the allegedly privileged materials

“(i) were made for an unlawful purpose or to further an illegal scheme and (ii) reflect an ongoing

or future unlawful or illegal scheme or activity.” United States v. Lentz, 419 F. Supp. 2d 820, 831

(E.D. Va. 2005). “Importantly, the purported crime or fraud need not be proved either by a

preponderance or beyond a reasonable doubt.” Id. “Rather, the proof ‘must be such as to subject

the opposing party to the risk of non-persuasion [i]f the evidence as to the disputed fact is left

unrebutted.’” Id. (citations omitted).

       In the context of the work-product privilege, the proponent of the crime-fraud exception is

similarly required to make a prima facie showing of the crime or fraud and that the documents

have a close relationship to the scheme or crime. With respect to fact work product, nothing more

is required; the attorney need not know he is furthering the fraud. In re Grand Jury Proc. #5, 401

F.3d at 252 (“Because fact work product enjoys less protection than opinion work product, it may

be discovered upon prima facie evidence of a crime or fraud as to the client only and thus even

when the attorney is unaware of the crime or fraud.”). “A court may also order fact work product

produced, without invoking the crime-fraud exception, if the party opposing the privilege

demonstrates a substantial need for the material and an inability to secure the substantial equivalent
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of the materials elsewhere without undue hardship.” In re Grand Jury Proceedings, 33 F.3d at

348; In re Grand Jury Proc. #5, 401 F.3d at 252 (“[T]he discovery of facts furnished to an attorney

does not implicate the same concerns as does invading the necessary privacy of an attorney’s

opinion work product, an invasion only justified if the attorney himself knows of the fraud.”).

       To establish the crime-fraud exception with respect to opinion work product, the Fourth

Circuit has required that the government make a prima facie showing of both (1) the underlying

crime/fraud; and (2) that the attorney in question was aware of or a knowing participant in the

criminal conduct. In re Grand Jury Proc. #5, 401 F.3d at 252; In re Grand Jury Subpoena, 870

F.3d 312, 316 (4th Cir. 2017) (“A party seeking to compel the production of opinion work product

under the crime-fraud exception must demonstrate attorney knowledge of or participation in the

client’s crime or fraud, but no such showing is necessary to discover fact-work-product privileged

materials related to a client’s crime or fraud.”). As the Fourth Circuit has stated, “[t]he fraud

exception to the rule against compulsory disclosure of a lawyer’s opinion work product must apply

in proceedings against a suspected lawyer equally or even more readily than in a proceeding to

obtain the information for use against a client who utilized fraudulent practices to obtain the

lawyer’s service.” In re Doe, 662 F.2d 1073 (4th Cir. 1981) (emphasis added).

IV.    Argument

       A.      Ravenell Cannot Claim Privilege Over the Work of Others

       As an initial matter, various documents over which Ravenell has claimed work-product

privilege, including billing records, were authored by someone else. Ravenell has generally

asserted, without any support, that some of these documents “reflect not just Mr. Ravenell’s work

product, but the work product of several other attorneys who either represented Mr. Byrd directly,

or who shared their work product as part of a joint defense, common interest, Kovel, or other

similar agreement.” April 17, 2020 letter from P. White to Filter Team (Exhibit A). To date,
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Ravenell has not provided any information to specify individuals with whom Ravenell may have

had a joint defense or common interest, much less explain the scope of such an agreement, or

otherwise explained how Ravenell is in a position to assert work-product claims on behalf of other

individuals. Absent a very specific legal relationship between Ravenell and these individuals, he

simply lacks standing to assert claims over their work product. See Exobox Techs. Corp. v.

Tsambis, No. 2:14-CV-501-RFB-VCF, 2014 WL 4987903, at *5 (D. Nev. Oct. 7, 2014) (observing

that “[i]t is axiomatic that standing requires the party requesting relief to have a personal legal

interest in the subject matter of the dispute,” and concluding individual lacked standing to assert

attorney-client “privilege on his co-conspirators’ behalf”); Williams v. Big Picture Loans, LLC,

303 F. Supp. 3d 434, 440 (E.D. Va. 2018) (concluding only party with “personal right

or privilege in the information sought” has standing to challenge subpoena).

        To the extent Ravenell is relying upon some type of joint defense or common interest

privilege, he has failed to make any showing whatsoever that those doctrines would be relevant

here.   “The joint defense privilege, an extension of the attorney-client privilege, protects

communications between parties who share a common interest in litigation.” In re Grand Jury

Subpoena: Under Seal, 415 F.3d 333, 341 (4th Cir. 2005). “To invoke the privilege, the party

must show that there is a shared common interest about a legal matter,” and “[c]onclusory claims

that a common interest in litigation exists are not sufficient to establish the joint defense privilege

in the absence of a showing that the parties were pursuing a common legal strategy.” United

States v. Elbaz, 396 F. Supp. 3d 583, 598 (D. Md. 2019) (internal citations omitted). Moreover,

“the joint defense or common interest rule presupposes the existence of an otherwise valid

privilege, and the rule applies not only to communications subject to the attorney-client privilege,

but also to communications protected by the work-product doctrine.”               In re Grand Jury


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Subpoenas, 89-3 & 89-4, John Doe 89-129, 902 F.2d 244, 249 (4th Cir. 1990). 13 Here, Ravenell

has not only failed to proffer any facts about the scope of his purported common interest, but he

has also failed to explain how these document reflect a “common legal strategy” or how they can

be divorced from his role in the drug trafficking and money laundering conspiracies at issue.

       B.      Financial Documents are Not Covered by the Work-Product Privilege

       Several of the Disputed Documents appear to be financial statements, lists of contracts and

payments, sets of bank records, and other documents relating to various transfers of funds and

other financial aspects of Richard Byrd’s drug trafficking organization. At the outset, it is not

clear what, if any, role Ravenell had in drafting or creating many of these documents, much less

how they would reflect his thoughts or mental impressions, such that they could be considered his

work product. 14 Nor is it clear from Ravenell’s generalized, boilerplate work-product privilege

assertions how exactly these documents constitute work product. Thus, as to these financial

documents, the defendant has failed to make even a threshold showing that the work-product

privilege applies. See In re Grand Jury Proc., Thursday Special Grand Jury Sept. Term, 1991,

33 F.3d at 352 (“[P]arty asserting a privilege bears the burden of establishing that privilege.”).

       Even assuming these documents were prepared under the direction of Ravenell (something

that is not clear from their face), there is nothing to suggest these documents were “prepared in

anticipation of litigation.” See Rambus, Inc. v. Infineon Techs. AG, 220 F.R.D. 264, 272 (E.D.


13
   As set forth below, because any joint defense or common interest privilege depends on the
existence of valid underlying privilege over the documents in dispute, these doctrines are
inapplicable where, as here, the proponent of the privilege has failed to make any showing
whatsoever that the documents are, in fact, privileged in the first place.
14
   For example, many of these documents on their face appear to be groups of financial records
compiled or collected by other individuals, but Ravenell has not identified (i) who the individuals
are who drafted the documents; (ii) what their relationship was to Ravenell; or (iii) how the “work”
reflected in these documents was done at his direction or under his control.
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Va. 2004). 15 The financial records largely appear to have been prepared in the ordinary course of

business and merely memorialize financial transactions of Byrd, LOC Marketing, and DB

Entertainment. At the outset, there is nothing on the face of these documents to suggest that they

were prepared in anticipation of litigation, as opposed to some other (legitimate or otherwise)

business purpose, much less how these documents can be linked to specific then-pending or

anticipated charges against Byrd. Rather, many of them appear to be finance documents that are

summary in nature. The Fourth Circuit has repeatedly explained that “[m]aterials prepared in the

ordinary course of business or pursuant to regulatory requirements or for other non-

litigation purposes do not constitute documents prepared in anticipation of litigation protected by

work product privilege.” Solis, 644 F.3d at 232 (internal quotation marks omitted); see also

United States v. Textron Inc. & Subsidiaries, 577 F.3d 21, 31 (1st Cir. 2009) (concluding work-

product privilege is “not a privilege designed to help the lawyer prepare corporate documents or

other materials prepared in the ordinary course of business”). 16 While the government addresses

each of these documents and its specific response to Ravenell’s claims of privilege over these

financial documents in Exhibit G, a few general arguments bear mention here.




15
   Byrd was arrested on state charges in February 2011. Accordingly, any Laptop documents
prepared before then were not created “in anticipation of litigation.”
16
    Here, Ravenell has made no showing that there was any legal purpose for the creation of these
documents. Even if he had, where a document was “prepared both for litigation and business
purposes,” the analysis of “[w]hether there is work product protection turns on whether the
material would have been prepared irrespective of the expected litigation.” Allied Irish Banks v.
Bank of Am., N.A., 240 F.R.D. 96, 106 (S.D.N.Y. 2007) (internal quotation marks omitted).
“Indeed, even where ‘[t]here is little doubt under the evidence that [a party] had the prospect of
litigation in mind when it directed the preparation of the [document,]’ or that ‘such documents
might [also] help in preparation for litigation,’ work product protection is not available for
documents ‘that are prepared in the ordinary course of business or that would have been created
in essentially similar form irrespective of litigation.’” Id. (quoting United States v. Adlman, 134
F.3d 1194, 1195 (2d Cir. 1998)).
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       First, several documents appear to pertain to the preparation of income taxes (e.g.,

FILTER_KR_00000290 (File Name: “BARSKY’S SPREADSHEET FOR TAXES.xlsx.”);

FILTER_KR_00000244 (File Name: TAX INFO FROM BYRD AND BOWIE.pdf”)).                             As

multiple Courts of Appeals have concluded, “the work product privilege is aimed at protecting

work done for litigation, not in preparing financial statements,” and thus income tax materials and

related financial documents are not entitled to work-product protection. See United States v.

Textron Inc. & Subsidiaries, 577 F.3d 21, 31–32 (1st Cir. 2009) (rejecting claim of work-product

privilege over tax work papers, which “were prepared to support financial filings and gain auditor

approval”); see also United States v. Davis, 636 F.2d 1028, 1040 (5th Cir. 1981) (concluding

“papers generated by an attorney who prepares a tax return are not within the work product

privilege”). As the Seventh Circuit has explained, such documents are not privileged even where

an individual may contemplate litigation relating to financial matters—that is, “a dual-purpose

document—a document prepared for use in preparing tax returns and for use in litigation—is not

privileged; otherwise, people in or contemplating litigation would be able to invoke, in effect, an

accountant’s privilege, provided that they used their lawyer to fill out their tax returns.” United

States v. Frederick, 182 F.3d 496, 501–02 (7th Cir. 1999).

       Second, both the tax-related documents and many of the other financial documents appear

to   largely   be    compilations    of    previously-existing    financial   information    (e.g.,

FILTER_KR_00000207; FILTER_KR_00000198) or event expenses from third parties (e.g.,

FILTER_KR_00000274; FILTER_KR_00000275). It is well-settled that “[a]n attorney may not

be used to insulate records an individual previously has prepared for his business.” See In re

Grand Jury Proc., 601 F.2d 162, 171 (5th Cir. 1979). Thus, even if Ravenell requested that Byrd

(or one of his co-conspirators) provide these documents, they are “not attorney work product, nor


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are they protected by the attorney-client privilege.” Id. Similarly, a set of documents is not

entitled to work-product protection merely because Ravenell asked that it be compiled or sent to

him.     In other words, “[j]ust as every document prepared by an attorney is not entitled

to work product protection, not every compilation by an attorney is protected either,” and

“compilations that merely reflect information, which is already or may be available to an

adversary, or has no implications for the adversary process, are not entitled to protection.”

Shapiro v. U.S. Dep’t of Just., 969 F. Supp. 2d 18, 32 (D.D.C. 2013). Put differently, the relevant

inquiry is the same for spreadsheets, financial analyses, and compilations of documents as it is for

any other document: does the document actually “reveal or provide insights into the “mental

processes of the attorney” in the analysis and preparation of a client’s case.” Id.

         Finally, these financial documents and summaries would, at most, be fact—rather than

opinion—work product and are thus entitled to substantially less protection. “This is because

the documents themselves convey no legal impressions or opinions,” and, at most, were documents

Ravenell and his team “later used to form legal opinions.” See Fed. Trade Comm’n v. Boehringer

Ingelheim Pharms., Inc., 180 F. Supp. 3d 1, 19 (D.D.C. 2016), aff’d, 892 F.3d 1264 (D.C. Cir.

2018).       In   Boehringer,     the   court   concluded     that   the    “charts,   graphs,    and

spreadsheets do not reflect [an attorney’s] assessments of the viability of success of […] litigation

or settlement strategy” and, therefore, were fact work product, not opinion, because “the facts

contained in these documents did no more than equip [the attorney] to make those assessments.”

Id. The court explicitly noted that even if these documents, which were prepared at the direction

of counsel, “were used for that purpose later, it does not affect their classification under the work-

product doctrine.” Id.




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       C.      Billing Records Are Not Covered by the Work-Product Privilege

       Ravenell has also blanketly claimed that the work-product privilege applies to certain

billing records, without offering any explanation as to how the privilege would apply to documents

that do not contain confidential information. This argument entirely ignores the well-settled law

that “[t]ypically, the attorney-client privilege does not extend to billing records and expense

reports.” Chaudhry v. Gallerizzo, 174 F.3d 394, 402 (4th Cir. 1999); see In re Grand Jury Proc.,

Thursday Special Grand Jury Sept. Term, 1991, 33 F.3d at 353-54 (“Billing records, expense

reports, and travel records of counsel are not generally privileged as attorney-client

communications. The attorney-client privilege normally does not extend to the payment of

attorney’s fees and expenses.”). Similarly, because “the work product privilege does not shield

every document created in the course of a client representation,” the “work product privilege

usually does not extend to payment records, where no such attorney work product is revealed.”

Baker v. Borgwarner Morse Tec, Inc., No. 3:11-CV-00505, 2012 WL 13026649, at *1 (S.D. W.

Va. May 3, 2012). Thus, as the Fourth Circuit has explained, where billing records reveal

“confidential information regarding legal advice,” such as “specific research or litigation strategy,”

those billing records may be protected under the attorney-client privilege.              Chaudhry v.

Gallerizzo, 174 F.3d 394, 403 (4th Cir. 1999); see also Clarke v. Am. Com. Nat. Bank, 974 F.2d

127, 129 (9th Cir. 1992) (concluding that “general purpose of the work performed are usually not

protected from disclosure by the attorney-client privilege,” however, records that “reveal the

motive of the client in seeking representation, litigation strategy, or the specific nature of the

services provided, such as researching particular areas of law, fall within the privilege”).   Finally,

“[t]o the extent that an attorney’s billing records contain information protected by attorney-client

privilege and the work product doctrine, redaction is a proper course of action toward preventing

disclosure of the nature of attorney’s services.” Baker, 2012 WL 13026649, at *1. Other courts
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have concluded billing records are not protected by the attorney work-product doctrine because

the doctrine “only protects documents prepared in anticipation of litigation, not in the regular

course of business” and “[b]illing records are commonly created in the regular course of business,

which removes them from this doctrine’s coverage.” Leach v. Quality Health Servs., 162 F.R.D.

499, 502 (E.D. Pa. 1995). The same analysis applies with even greater force where the billing

records are not prepared in connection with litigation. The courts that have considered whether

billing records are privileged appear to have largely done so in the context of the attorney-client,

rather than the work-product, privilege. As such, these cases are instructive and provide guidance

that billing records themselves are not, as a general matter, privileged, though certain information

contained within those records may be if it would otherwise be privileged. Where, as here, the

inquiry is whether the billing records are protected by the work-product doctrine, the relevant

inquiry is not whether the records reveal confidential client communications, but rather whether

the billing records reveal an attorney’s work product (i.e., an attorney’s thoughts or mental

impressions) and were prepared in anticipation of litigation.

       Here, Ravenell has made no showing whatsoever of how the billing records he has

identified reveal his thoughts or mental impressions or why they would otherwise be privileged.

Instead, he has made generalized objections to billing records, which include bills for transactional

and contract work (by in some cases non-attorneys) with no apparent connection to litigation

whatsoever (e.g., FILTER_KR_00000242; FILTER_KR_00004246; FILTER_KR_00008059).

Ravenell has also asserted privileges over bills addressed to Byrd, again without any suggestion

that the work was performed at Ravenell’s direction or any explanation as to how he can claim

work-product protections over them. Of course, to the extent Ravenell is claiming that these

billing records are privileged because they convey confidential information to his client, that


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argument is irrelevant because his client has waived the attorney-client privilege. Thus, the only

question is whether these billing records reveal Ravenell’s thoughts and mental impressions, and

there is nothing in the records to suggest that they do.

       The cases Ravenell cites to the government do little to aid his cause. See Exhibit A.

These cases merely support the uncontroverted proposition that billing records may be privileged

when they “contain narrative descriptions of conversations between clients and attorneys, the

subjects of legal research or internal legal memoranda, and activities undertaken on the client’s

behalf.” Cardenas v. Prudential Ins. Co. of Am., No. 99-1422, 2003 WL 21302957, at *3 (D.

Minn. May 16, 2003). The other case Ravenell cites rejected the claim of protection over the

billing records entirely, concluding that they “were generated in the ordinary course of business

and not in preparation for litigation,” and observing that the billing records could “arguably

constitute opinion work product if they had been prepared in anticipation of litigation.” See Bieter

Co. v. Blomquist, 156 F.R.D. 173, 180 (D. Minn. 1994). Simply put, these cases provide no

support for the argument that the generic billing records at issue in this case are subject to work-

product protection.

       D.       This Court Has Previously Deemed Many Similar or Identical Documents to
                be Subject to the Crime-Fraud Exception

       Notably, versions of many of the Disputed Documents (some of which appear to be

virtually identical) have previously been produced to the prosecution team after Magistrate Judge

Sullivan determined that they were subject to a crime-fraud finding—that is, that Ravenell was a

knowing participant in the criminal scheme and the documents bore a close relationship to that

scheme. Sealed Mem. Thus, Ravenell, whose law firm was a party to the litigation regarding

the materials arising out of those Search Warrants, cannot now argue that those same documents

are not covered by the earlier crime-fraud ruling. Assuming that he can, the fact remains that the
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documents were properly deemed covered by the crime-fraud exception in 2016 and should no

longer be protected here.

        The Supreme Court has explained that the “preclusive effect of a judgment is defined by

claim preclusion and issue preclusion, which are collectively referred to as ‘res judicata.’” Taylor

v. Sturgell, 553 U.S. 880, 892 (2008) (internal citations omitted). As applicable here, “[i]ssue

preclusion […] bars successive litigation of an issue of fact or law actually litigated and resolved

in a valid court determination essential to the prior judgment, even if the issue recurs in the context

of a different claim.” Id. (internal citations omitted). As the Fourth Circuit recently explained,

“[t]he doctrine of collateral estoppel precludes parties to a prior action and their privies from

litigating in a subsequent action any factual issue that actually was litigated and essential to a valid,

final judgment in the prior action.” Hately v. Watts, 917 F.3d 770, 777 (4th Cir. 2019) (emphasis

added). “By preclud[ing] parties from contesting matters that they have had a full and fair

opportunity to litigate, these [] doctrines protect against the expense and vexation attending

multiple lawsuits, conserve judicial resources, and foster reliance on judicial action by minimizing

the possibility of inconsistent decisions.” Taylor, 553 U.S. at 892 (internal alterations and

quotation marks omitted).

        To “apply collateral estoppel or issue preclusion to an issue or fact, the proponent must

demonstrate that (1) the issue or fact is identical to the one previously litigated; (2) the issue or

fact was actually resolved in the prior proceeding; (3) the issue or fact was critical and necessary

to the judgment in the prior proceeding; (4) the judgment in the prior proceeding is final and valid;

and (5) the party to be foreclosed by the prior resolution of the issue or fact had a full and fair

opportunity to litigate the issue or fact in the prior proceeding.” In re Microsoft Corp. Antitrust

Litig., 355 F.3d 322, 326 (4th Cir. 2004).


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       Here, the facts readily satisfy all five elements. This Court previously adjudicated a

crime-fraud dispute over similar, in some instances, identical documents—the issue here is thus

identical to the one actually resolved by the judges in that case. The crime-fraud finding was

central to the ruling, which is final and valid (and was not appealed by either party). Finally,

Ravenell——through the Murphy Firm—was effectively a party, or at least a privy to a party, to

Case No. 14-mj-1884, given his “substantive legal relationship” with the Murphy Firm. See

Taylor, 553 U.S. at 894.

       Even if Ravenell is not estopped as a matter of law, he has waived any protections over

these documents. As set forth above, many of the documents over which Ravenell now claims

privilege are highly similar, if not identical, to documents that have already been deemed not

privileged and provided to the Prosecution Team.       Ravenell was placed on notice that the

government had versions of these documents as soon as he learned of the federal search warrant

that was executed at MFM in September 2014. Ravenell consented to provide his Laptop to the

government, and as this Court has already found, he gave this consent freely and voluntarily. See

Order Denying Second Motion to Suppress (Under Seal), Crim. No. LO-19-449 (Aug. 12, 2020)

(ECF 138).    Where, as here “an attorney freely and voluntarily discloses the contents of

otherwise protected work product to someone with interests adverse to his or those of the client,

knowingly increasing the possibility that an opponent will obtain and use the material, he may be

deemed to have waived work product protection.” See In re Doe, 662 F.2d 1073, 1081 (4th Cir.

1981); see also In re Qwest Commc’ns Int’l Inc., 450 F.3d 1179, 1186 (10th Cir. 2006) (concluding

Qwest “waived the attorney-client privilege and work-product protection for the Waiver

Documents by disclosing them to the SEC and the DOJ”). Ravenell cannot, now, seven years




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after his office was first searched, and more than three years after his attorney voluntarily produced

the Laptop to the government, claim privileges that he has long-since waived.

        E.       The Disputed Documents Are Not Privileged Because They Are Covered By
                 the Crime-Fraud Exception

        With respect to the first prong of the crime-fraud analysis, the evidence set forth above

readily establishes a prima facie case that Byrd and his co-conspirators were “engaged in or

planning a criminal or fraudulent scheme when they sought the advice of [Ravenell] to further the

scheme.” See In re Grand Jury Proc. #5, 401 F.3d at 254-55. As the Fourth Circuit has

explained, “this prong is satisfied by a showing of evidence that, if believed by a trier of fact,

would establish the elements of some violation that was ongoing or about to be committed.” Id.

        With respect to the second prong of the analysis, the Disputed Documents also clearly

“bear a close relationship” to the scheme. See id. at 255. As noted above, Judge Sullivan already

determined that similar and identical documents bore a close relationship to Ravenell’s scheme.

Judge Sullivan made that determination well before the indictment (September 8, 2019) and

superseding indictment (December 17, 2020) were returned against Ravenell, and thus his decision

was limited to the facts as the government knew them at the time. As set forth above, with

supplements since Judge Sullivan’s ruling, the prosecution team has a wealth of incriminating

information about Ravenell’s knowledge and conduct. A finding that the Disputed Documents

are subject to the crime-fraud exception is more easily made now with the passage of time, use of

the grand jury, and analysis of the evidence; the crime-fraud exception applies even more broadly

than Judge Sullivan was made aware of. Accordingly, it plainly covers the Disputed Documents

at issue here.




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V.     Conclusion

       For the foregoing reasons, the Government respectfully requests that the Court order that

the documents listed in Exhibit G and Exhibit H are not privileged and may be turned over to the

Prosecution Team.


Dated: June 29, 2021

                                            Respectfully submitted,

                                            Jonathan F. Lenzner
                                            Acting United States Attorney

                                    By:     _______/s/______________
                                            Leah B. Grossi
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                                            Assistant United States Attorneys




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Appendix – Index of exhibits

 Exhibit     Description
 A           April 17, 2020 letter from P. White (counsel for Defendant) to Filter Team re:
             Privilege Review Objections related to United States v. Ravenell
 B           March 19, 2021 letter from P. White (counsel for Defendant) to Filter Team re:
             Privilege Review Objections related to United States v. Ravenell
 C           August 26, 2014 Search Warrant (including affidavit) in Case No. 14-mj-1885-
             RAJ
 D           KWR’s Combined Notes
 E           Richard Byrd’s privilege waivers
 F           Prior Privilege Rulings in Case Nos. 14-mj-1884-RAJ and No. 14-mj-1885-RAJ
     1       Report and Recommendation by Magistrate Judge Timothy Sullivan dated
             November 2, 2016
     2       Ex Parte Sealed Memorandum by Magistrate Judge Timothy Sullivan dated
             November 2, 2016 (ECF No. 43)
     3       Letter Order by Magistrate Judge Timothy Sullivan amending the November 2,
             2016 Report and Recommendation, dated November 17, 2016 (ECF No. 44)
     4       Letter correspondence from Magistrate Judge Timothy Sullivan to District Judge
             Raymond Jackson regarding the November 2, 2016 Report and Recommendation,
             dated November 22, 2016 (ECF No. 46)
     5       Order by District Judge Jackson adopting Judge Sullivan’s November 2, 2016
             Report and Recommendation, dated February 2, 2017 (ECF No. 47)
 G           Spreadsheet listing metadata associated with Disputed Documents (Financial
             Statements), defense objections, and government responses
     1-3     Financial Statements – DB Entertainment (provided in native format)
     4-11    Financial Statements – Email (provided in native format)
     12-20   Financial Statements – Event Expenses (provided in native format)
     21-24   Financial Statements – LOC Marketing (provided in native format)
 H           Spreadsheet listing metadata associated with Disputed Documents (Billing
             Documents), defense objections, and government responses
     25      Billing Documents – Jeffrey Barsky (provided in native format)
     26-31   Billing Documents – Blank Rome (provided in native format)
     32-39   Billing Documents – Barry Brandman (provided in native format)
     40      Billing Documents – Kenneth Frank (provided in native format)
     41-42   Billing Documents – Sean Gordon (provided in native format)
     43-44   Billing Documents – Ed Leyden (provided in native format)
     45-52   Billing Documents – Murphy Firm (provided in native format)
     53      Billing Documents – Osborn Maledon (provided in native format)
     54-82   Billing Documents – Perkins Coie (provided in native format)


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